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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,                               Case No. 19-20115
 v.                                                    Hon. Denise Page Hood

 ROMANE PORTER,

           Defendant.
 ______________________________/

                            ORDER SETTING DATES

       Pursuant to the Status Conference held in this matter on August 3, 2022 with

 Defendant Romane Porter’s newly-appointed counsel,

       IT IS ORDERED that the following schedule applies in this matter:

       Motions must be filed by counsel
       (with reasons why the motion is filed):              Sept. 9, 2022

       Plea Cut Off Date and
       Pretrial Conference Date:                            Oct. 25, 2022, 3:30 pm

       Jury Trial Date:                                     Dec. 6, 2022, 9:00 am
       (Jury Trial dates are subject to the court’s/
        jury department’s COVID-19 protocols)

       IT IS FURTHER ORDERED that the dates in this Order constitute excludable

 delay under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7) from July 19, 2022 to the

 reset trial date of December 6, 2022. The Court finds that the ends of justice served

 by the delay outweigh the best interest of the public and the Defendant in a speedy
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 trial. The Court allowed Defendant’s previous counsel to withdraw at a status

 conference on July 12, 2022. Newly-appointed counsel indicated he had other matters

 and trials scheduled over the next few months, required time to review the discovery

 and discuss matters with Defendant. At Defendant’s request, the Court allowed the

 Writ to be discharged so that Defendant could return to the custody of the Michigan

 Department of Corrections to address parole issues in his State case. A new Writ will

 be submitted to the Court for Defendant’s appearance at the Pretrial Conference set

 for October 25, 2022.


                                              s/Denise Page Hood
                                              DENISE PAGE HOOD
                                              United States District Judge
 DATED: September 2, 2022




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